






COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS


MICHAEL W. RUTLAND,


                            Appellant,


v.


MH BUILDERS, INC. AND MATT
HAND,


                            Appellees.
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No. 08-09-00107-CV



Appeal from the


73rd District Court


of Bexar County, Texas


(TC# 2007-CI-10286)


MEMORANDUM OPINION


	This Court possesses the authority to dismiss an appeal for want of prosecution when the
appellant fails to file a brief within the time proscribed and provides no reasonable explanation for
such failure.  Tex.R.App.P. 38.8(a)(1).  By letter dated July 22, 2009, the clerk of this Court
informed Appellant of the Court's intent to dismiss this appeal for want of prosecution due to
Appellant's failure to file a brief or request an extension of time to do so.  The Court advised
Appellant that the appeal would be dismissed without further notice unless Appellant responded
within ten days and provided a reason why the appeal should be continued.  See Tex.R.App.P.  38.8. 
Appellant has not responded to the clerk's notice.  Therefore, pursuant to Tex.R.App.P. 38.8(a)(1),
we dismiss the appeal for want of prosecution.


						GUADALUPE RIVERA, Justice


September 23, 2009


Before Chew, C.J., McClure, and Rivera, JJ.


